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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,                          CIVIL ACTION NO. 6:21-cv-00964-ADA

        v.
                                                    PATENT CASE
 JOHNSON CONTROLS, INC.,
                                                    JURY TRIAL DEMANDED
                Defendant.



             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Plaintiff Rothschild broadcast Distribution Systems, LLC (“Plaintiff” and/or “RBDS”)

files this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the

plaintiff without order of court by filing a notice of dismissal at any time before service by the

adverse party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Johnson Controls, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

party to bear its own fees and costs.




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Dated: December 2, 2021.                    Respectfully submitted,


                                             /s/Jay Johnson
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                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        I hereby certify that on December 2, 2021, I electronically filed the above document(s)
with the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to
all registered counsel.
                                            Respectfully submitted,
                                            /s/Jay Johnson
                                            JAY JOHNSON




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